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Mark S. Cohen
Christian R. Everdell
+1 (212) 957-7600
mcohen@cohengresser.com
ceverdell@cohengresser.com



                                                         January 25, 2021


VIA ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

      On behalf of our client, Ghislaine Maxwell, we will be filing the following pretrial
motions with accompanying exhibits:

         1. Motion to Dismiss the Superseding Indictment for Breach of the Non-Prosecution
             Agreement
         2. Motion to Dismiss Counts One through Four of the Superseding Indictment as Time-
             Barred
         3. Motion Under the Due Process Clause to Suppress All Evidence Obtained from the
             Government’s Subpoena to                    and to Dismiss Counts Five and Six
         4. Motion to Dismiss Counts Five and Six of the Superseding Indictment Because the
             Alleged Misstatements Are Not Perjurious as a Matter of Law
         5. Motion for a Severance of and Separate Trial on Counts Five and Six of the
             Superseding Indictment
         6. Motion to Strike Surplusage from the Superseding Indictment
         7. Motion to Dismiss Counts One Through Six of the Superseding Indictment for Pre-
             Indictment Delay
         8. Motion to Dismiss Either Count One or Count Three of the Superseding Indictment
             as Multiplicitous
         9. Motion to Dismiss the Superseding Indictment as It Was Obtained in Violation of the
             Sixth Amendment
         10. Motion for a Bill of Particulars and Pretrial Disclosures
         11. Motion Under the Fourth Amendment, Martindell, and the Fifth Amendment to
             Suppress All Evidence Obtained from the Government’s Subpoena to
             and to Dismiss Counts Five and Six
         12. Motion to Dismiss Counts One through Four of the Superseding Indictment for Lack
             of Specificity
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The Honorable Alison J. Nathan
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          Several of the motions reference or discuss Confidential Information produced in
  discovery and are therefore redacted pursuant to paragraph 15 of the Protective Order (Dkt. 36).
  In an abundance of caution, and to give the government the chance to review the proposed
  redactions, we will not file on the public docket any motions containing redactions until we are
  instructed to do so by the Court. Instead, we will submit by email to the Court and the
  government two versions of those motions—an unredacted original to be kept under seal and a
  version for public filing with proposed redactions—pursuant to Rule 2(B) of the Court’s
  individual rules of criminal practice. We will file on the public docket any motions that do not
  contain redactions.

         Please contact us with any questions. Your consideration is greatly appreciated.

                                                           Respectfully submitted,



                                                             /s/ Mark S. Cohen
                                                           Mark S. Cohen
                                                           Christian R. Everdell
                                                           COHEN & GRESSER LLP
                                                           800 Third Avenue, 21st Floor
                                                           New York, New York 10022
                                                           (212) 957-7600


  cc:   All counsel of record (via email)
